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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

  THE STATE OF TEXAS, et al.,

          Plaintiffs,
                                                    Civil Action No. 4:20-cv-00957-SDJ
  v.                                                Hon. Sean D. Jordan

  GOOGLE LLC,                                       Special Master: David T. Moran

          Defendant.


                                               ORDER

        Before the Court is the Parties’ Joint Stipulation, dated April 18, 2024.

        The Court, having considered the Parties’ Joint Stipulation, hereby ORDERS that:

        Google shall not seek or move to disqualify in this case any Office of Attorney General

 (“OAG”) attorneys for any Plaintiff State on the basis that the OAG attorneys may be or have been

 designated as a Rule 30(b)(6) witness for their respective Plaintiff State.

        IT IS SO ORDERED.

 DATED: ____________________________



                                               ___________________________________
                                               Sean D. Jordan
                                               United States District Judge
